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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-80309-CIV-SMITH

SHANNEN DUGGAN,

       Plaintiff,

v.

ACCOUNT RESOLUTION
SERVICES, et al.,

      Defendants.
________________________________________/

                                    ORDER OF DISMISSAL

       This matter is before the Court on the Plaintiff and Account Resolution Services’s Joint

Stipulation of Dismissal with Prejudice [DE 13]. Upon consideration, it is

       ORDERED that:

        1.      Plaintiffs’ claims against Account Resolution Services only are DISMISSED with

                prejudice.

        2.      Each party shall bear its own attorney’s fees and costs.

        3.      All pending motions are denied as moot.

       DONE and ORDERED in Fort Lauderdale, Florida, this 26th day of May 2023.




cc Counsel of record
